Case 2:09-cr-00156-FVS   ECF No. 772   filed 08/12/11   PageID.4132 Page 1 of 7
Case 2:09-cr-00156-FVS   ECF No. 772   filed 08/12/11   PageID.4133 Page 2 of 7
Case 2:09-cr-00156-FVS   ECF No. 772   filed 08/12/11   PageID.4134 Page 3 of 7
Case 2:09-cr-00156-FVS   ECF No. 772   filed 08/12/11   PageID.4135 Page 4 of 7
Case 2:09-cr-00156-FVS   ECF No. 772   filed 08/12/11   PageID.4136 Page 5 of 7
Case 2:09-cr-00156-FVS   ECF No. 772   filed 08/12/11   PageID.4137 Page 6 of 7
Case 2:09-cr-00156-FVS   ECF No. 772   filed 08/12/11   PageID.4138 Page 7 of 7
